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                         IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION
                                                   §
Leila Green Little, et al.,                        §
                                                   §   Civil Action No. 1:22-cv-00424-RP
      Plaintiffs,                                  §
                                                   §   [PROPOSED] ORDER GRANTING
              v.                                   §   MOTION FOR SARAH SALOMON
                                                   §   TO BE WITHDRAWN AS COUNSEL
Llano County, et al.,                              §   OF RECORD
                                                   §
      Defendants.                                  §
                                                   §


        The Court, having reviewed Plaintiffs’ Motion for Sarah Salomon to Be Withdrawn as

Counsel of Record (the “Motion”), hereby GRANTS Plaintiffs’ Motion, and terminates Sarah

Salomon as counsel of record for Plaintiffs.

        IT IS SO ORDERED.



Dated: ____________________, 2022                      ______________________________
                                                        Hon. Robert Pitman
                                                        United States District Judge




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